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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

                                  Case No. 1:24-cv-23086-RAR

  BRENDA WRIGHT; LINDSY THOMPSON;
  MARC PERKINS-CARRILLO; GREGORY BUCE;
  BORNA ESLAMI; TRACY SQUIRE;
  BENJAMIN MICHAEL PALAJAC; JOHN FRANCIS
  FOLEY; YAMAN FEJLEH; and, DESTINY SMITH,

                Appellants,

  v.

  BIRD GLOBAL, INC.; BIRD RIDES, INC.;
  BIRD US HOLDCO, LLC; BIRD US OPCO, LLC;
  SKINNY LABS, INC.; THE OFFICIAL
  COMMITTEE OF UNSECURED CREDITORS;
  APOLLO SYNDICATE MANAGEMENT LIMITED;
  APOLLO GROUP HOLDINGS LIMITED;
  APOLLO SYNDICATE 1969; APOLLO SYNDICATE
  1971; CITIES OF LOS ANGELES, SAN DIEGO,
  SANTA MONICA, SAN JOSE, AND LONG BEACH;
  THIRD LANE MOBILITY, INC.; DONNA JACKSON
  TCHIRKOW; TORT CLAIMANTS; and,
  PITTSBURGH PLAINTIFFS,

              Appellees.
  ________________________________________________/

                              NOTICE OF STRIKING DOCUMENT

         Appellees, Apollo Syndicate Management Limited; Apollo Group Holdings Limited;

   Apollo Syndicate 1969; and, Apollo Syndicate 1971, through undersigned counsel, hereby strikes

   the Notice of Appearance of G. Eric Brunstad, Jr. [ECF No. 28].
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the

   Court’s CM/ECF to all counsel of record and interested parties registered to receive electronic

   noticing in this case on August 20, 2024.



   Date: August 20, 2024              Respectfully submitted,
                                      s/ Jerry M. Markowitz
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                                      Attorneys for Apollo Syndicate Management Limited;
                                      Apollo Group Holdings Limited; Apollo syndicate 1969;
                                      and, Apollo syndicate 1971
